






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00514-CR






Ezra Pleasant, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT


NO. CR-02-333, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Ezra Pleasant pleaded guilty before a jury to an indictment accusing him
of aggravated sexual assault of a child and two counts of indecency with a child by contact.  See Tex.
Pen. Code Ann. § 21.11 (West 2003), § 22.021 (West Supp. 2004-05).  The jury returned instructed
verdicts of guilty and assessed punishment for each count at ten years' imprisonment and a $10,000
fine.  On the jury's recommendation, imposition of sentence was suspended and appellant was placed
on community supervision.

Appellant's retained attorney filed a brief stating that there are no meritorious grounds
of error and that the appeal is frivolous.  See Anders v. California, 386 U.S. 738 (1967) (applying
to appointed counsel).  A copy of counsel's brief was delivered to appellant, who has not responded.

We have reviewed the record and find no error that should be reviewed in the interest
of justice.  Counsel's motion to withdraw is granted.

The judgments of conviction are affirmed.



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   February 3, 2005

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